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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

JOHN ANTHONY CASTRO,                       :
                                           :
                       Plaintiff,          :
                                           :
               v.                          :      Civil Action No. 23-1068-RGA
                                           :
ANTHONY J. ALBENCE,                        :
State Election Commissioner, and           :
DONALD JOHN TRUMP,                         :
                                           :
                       Defendants.         :


                                           ORDER


               WHEREAS, Plaintiff has filed a Notice of Voluntary Dismissal pursuant to Fed.

R. Civ. P. 41(a)(1)(A)(i) (D.I. 15);

               WHEREAS, Defendants have neither answered the complaint, or filed motions

for summary judgment;

               NOW THEREFORE, IT IS HEREBY ORDERED, that the Clerk of Court is

directed to CLOSE this case.




December 8, 2023                                      /s/ Richard G. Andrews
Date                                                  United States District Judge
